                                                                                        YAAKOV SAKS*
                                                                                           JUDAH STEIN 
                                                                                        RACHEL DRAKE ▪
                                                                                         DANIEL KOHN 
                                                                                  NJ & NY Bar Admissions
                                                                                          ▪ NJ Bar Admission
                                                                             *Federal Court Bar Admissions
                                                               CO, TX, WI, MO, NE, NM, IL, ND, MI, CT, AR, TN
                                        285 Passaic Street,Hackensack, NJ 07601| tel: 201.282.6500
                                                        fax: 201.282.6501|www.steinsakslegal.com

July 13, 2018



 Via CM/ECF
 The Honorable Pamela Pepper, USDJ
 United States District Court
 Eastern District of Wisconsin
 United States District Courthouse
 517 E. Wisconsin Ave.
 Milwaukee, WI 53202



       RE:      Kopp v. Pan Am Collections, Incorporated
                Case No. 2:17-cv-00368-PP

Dear Judge Pepper:

        On June 20, 2018, counsel for both parties had a status call with your Honor. During that
call, counsel could not reach an agreement as to how their clients wished to proceed with the case.
Your Honor directed counsel to confer before the next status call scheduled for July 19, 2018 and
to reach a concensus between the parties as to case disposition.

        At this time the parties have discussed settlement but are unable to reach a mutually
acceptable arrangement. The parties believe that the case is ripe for dispositive motions and
respectfully request that this Court set a Motion Schedule regarding same.

      Prior to filing, this letter was reviewed by Charles G. McCarthy, Jr. Esq., counsel for
Defendant who agrees to its content and filing.


                                                    Very truly yours,




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                                                  /s/ Yaakov Saks

                                                  Yaakov Saks, Esq.
                                                  Attorneys for Plaintiff


cc:    Charles G. McCarthy, Jr. Esq. via CM/ECF




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